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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

DERRICK LEE CARDELLO-SMITH,

                 Plaintiff,                  Case No. 2:24-cv-12647

      v.                                     Hon. Judith Levy

SEAN COMBS,

                 Defendant.


 DEFENDANT’S REPLY BRIEF IN SUPPORT OF HIS MOTION FOR
                SANCTIONS [ECF No. 70]
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       Plaintiff’s rambling, abrasive, and incoherent Response to Defendant’s

Motion for Sanctions illustrates why his filings in this Court must be restricted as a

sanction for his persistent abuse of the judicial process.1 Defendant’s Motion for

Sanctions set forth the fundamental legal precepts and undisputed factual record—

including dozens of improper, fabricated, forged, and irrelevant filings by Plaintiff

—that demand the Court’s intervention to stop Cardello-Smith from wreaking any

further havoc on the federal judiciary. In Response, Cardello-Smith deflects, citing

irrelevant media content, invoking tabloid-fueled rumors, and lodging unsupportable

ad hominem attacks on Defendant’s counsel, while generally failing to address

controlling law or meaningfully refute that documents he filed in this case are forged

and full of lies.

       Plaintiff contends sanctions are not warranted because—notwithstanding his

“near daily” filings—the burden on Defendant has been minimal, as Defendant has

made only “less than 10 filings with this Court[.]” (Response, ECF No. 89,

PageID.1707-08.) In addition to understating the work involved in substantively



       1
        It is not apparent that Plaintiff’s Response is timely. Plaintiff was required to
respond to Defendant’s Motion for Sanctions by January 6, 2025. Plaintiff’s
Response was mailed on January 6, 2025 and entered by the Court on January 15,
2025. (ECF No. 89, PageID.1717, 1700.) While this Circuit recognizes a prison
mailbox rule for certain filings (e.g., civil complaints, habeas petitions, notices of
appeal), See Cretacci v. Call, 988 F.3d 860, 865-66 (6th Cir. 2021), it is not clear
that the rule applies to an ordinary motion response and Plaintiff cites no authority
for that proposition in his Response.
                                           1
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addressing Plaintiff’s outrageous claims, that figure, of course, does not include the

extensive briefing Defendant was compelled to make in the state court prior to

removal as a result of Plaintiff’s unscrupulous efforts to obtain an improper $100

million default judgment. More significantly, it ignores the burden that such filings

impose on this Court. Sanctions are warranted because Plaintiff has made more than

70 filings in this case in state and federal court, nearly all of which are fraudulent,

baseless and/or duplicative (if not all three). Plaintiff’s filings include three

documents that falsely state Defendant has offered to settle this matter—two of

which contain a fake settlement agreement with a forgery of Defendant’s signature.

(ECF No. 19; ECF No. 41, PageID.769; ECF No. 48, PageID.992.) Plaintiff has filed

at least seven documents either asking the Court to remand this case to state court or

purporting to unilaterally “remove” the case to state court. (ECF Nos. 4, 9, 12, 22,

29, 31, 36.) Plaintiff’s deluge of frivolous filings have wasted this Court’s resources

and required Defendant to file seven motion responses, thereby incurring significant

legal fees. (ECF Nos. 20, 25, 26, 30, 66, 68, 80.) Plaintiff has not been deterred by

the filing of Defendant’s Motion for Sanctions. Indeed, since that time, Plaintiff has

filed an additional fourteen documents [ECF Nos. 71, 73, 74, 75, 76, 77, 78, 79, 82,

83, 84, 85, 87, 90] each more frivolous and facially absurd than the previous,

including a “Notice of Intent to Seek Restraining Order,” in which he falsely claims

he had a “Legal Visit” with the undersigned counsel. (ECF No. 79, PageID.1650.)


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      Plaintiff claims that attorney fees may not be awarded because the Motion was

not accompanied by a bill of costs (Response, ECF No. 89, PageID.1715.) Contrary

to Plaintiff’s conclusory assertion, no applicable rule requires a sanctions motion to

include such a bill of costs.2 Of course, a district court may grant a motion for

sanctions and then determine the amount of attorney fees to be awarded in a separate

order. See King v. Whitmer, 71 F.4th 511, 519 (6th Cir. 2023) (noting, without

comment, that the district court granted motion for sanctions under Rule 11, 28

U.S.C. § 1927 and the court’s inherent authority, and then determined the amount of

attorney fees to be paid by the sanctioned attorneys in a subsequent order).

      Finally, Plaintiff claims that sanctions are not warranted because Defendant,

not Plaintiff, chose to remove this case to federal court and to file a Motion to

Dismiss. (Response, ECF No. 89, PageID.1706.) That Defendant—in the face of

Plaintiff’s frivolous, vexatious, state court filings—sought to defend his interests by

appropriately invoking the protection of the federal courts and moving to dismiss the

insufficiently pled complaint does not absolve Plaintiff of the responsibility he bears

for pursing this baseless litigation (and multiplying it with “near daily” submissions

that serve no purpose except to harass). Not surprisingly, removal of this matter has

no bearing on Defendant’s ability to seek sanctions. See, e.g., Bockrath v. Gen.


      2
        While the Michigan Court Rules (which do not apply here) contain a
requirement that a party seeking costs file a “bill of costs,” see Mich. Ct. R. 2.625,
the Federal Rules of Civil Procedure do not.
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Motors Delphi Corp., No. 3:07CV784, 2008 WL 440456, at *1 (N.D. Ohio, Feb. 13,

2008) (dismissing plaintiff’s argument that Rule 11 sanctions could not be awarded

after removal of case by defendant and awarding defendant attorney fees incurred

defending “unfounded” lawsuit.). It is Plaintiff’s prosecution of this frivolous

lawsuit and multiplication of meritless filings—not Defendant’s rightful invocation

of federal jurisdiction—that has caused Defendant to needlessly incur substantial

costs.

                                   CONCLUSION

         In his Response, Cardello-Smith all but concedes that, left unrestrained, he

will continue “filing documents daily” (Response, ECF No. 89, PageID.1710).

Having seen a broad sampling of the quality and purpose of his filings, that is not an

acceptable outcome—not for Defendant who must respond to the barrage of

meritless filings and not for the Court which must resolve them. For the foregoing

reasons, and the reasons set forth in Defendant’s opening brief, Defendant

respectfully asks that the Court grant his Motion for Sanctions [ECF No. 70] in its

entirety.

                                                    Respectfully submitted,
 Dated: January 22, 2025
                                                    FINK BRESSACK

                                                    By: /s/ David H. Fink
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                                                    David A. Bergh (P83696)
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